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Hermit’s Peak/Calf Canyon Claims Office
Attorney Update Meeting
March 28, 2024




                                                                                        EXHIBIT C
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Public Assistance Requirements for Eligible Entities

▪ Entities eligible for FEMA Public Assistance (PA) under DR-4652, must first apply for PA
  funding before filing a claim with the Claims Office.
▪ Legislative Requirement - Section 104(d)(1)(C) (prohibiting duplication of benefits)
▪ Regulations – 44 C.F.R. 296.21(f)(2)
      Coordination with FEMA's Public Assistance Program. Injured Persons eligible for disaster
       assistance under FEMA's Public Assistance Program are expected to apply for all available
       assistance. Pursuant to the Act, the Federal share of the costs for Public Assistance
       projects is 100 percent. Compensation will not be awarded under the Act for injuries or
       costs that are eligible under the Public Assistance Program.




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PA 101
What is FEMA PA and why must PA do what PA does?
• PA is a reimbursement program that
  provides federal funding to help
  communities respond to and recover
  from disasters
• Authorities
    • Statutes and Laws
    • Regulations
    • Policies
    • Executive Orders
    • OMB Circulars
• Stafford Act
• Codes of Federal Regulations (CFR)
    • Title 44 CFR Part 206
    • Title 2 CFR Part 200
• FEMA Policies
    • PAPPG v4

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PA 101
Who are the key participants?

   NON-FEMA                                       FEMA Field Staff
      ✓ Recipient *                                  ✓ Infrastructure Branch Director (IBD)
      ✓ Applicant **                                 ✓ PA Group Supervisor (PAGS)
      ✓ Sub-Recipient ***                            ✓ Program Delivery Task Force Lead
                                                         (PDTFL)
   * State, Local, Tribal and
   Territorial                                       ✓ Program Delivery Manager (PDMG)
   ** Local municipalities,                          ✓ Site Inspector Task Force Lead (SITFL)
   schools, hospitals, etc.                          ✓ Site Inspector (SI)
   *** When funds are obligated                      ✓ Consolidated Resources Center (CRC)
   Applicants become Sub-Recipients                  ✓ Environmental & Historic Preservation
                                                         (EHP)
                                                     ✓ Hazard Mitigation (406 MIT)

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    PA 101
    How does PA operate?
• Eligibility Pyramid                                                                                COST
    • FEMA must determine whether
        the Applicant is eligible before
        evaluating claims through                                                                    WORK
        4 basic components
          ✓ Applicant -SLTT, PNP
          ✓ Facility -Public facilities that applicants                                          FACILITY
             are legally responsible
          ✓ Work -Categories of work, Direct result
             of disaster and in designated area
                                                                                              APPLICANT
          ✓ Cost-directly tied to performance of
             eligible work



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PA 101
How do we divide it up?

• Public Assistance Categories of Work
    ✓ A – Debris Removal **
    ✓ B – Emergency Protective Measures **
    ✓ C – Roads and bridges
    ✓ D – Water control facilities
    ✓ E – Buildings and equipment
    ✓ F – Utilities
    ✓ G – Parks, recreational, and other
    ✓ Z – Project Management Costs

   ** Emergency Work Only



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PA 101
Management Costs
• Z – Project Management Costs
    • The Disaster Recovery Reform Act (DRRA) (PL 105-254), signed on October 5, 2018, amended
      Section 324 of the Robert T. Stafford Disaster Relief and Emergency Assistance Act to provide
      management cost funding to Recipients and Subrecipients up to specified percentages.
    • Subrecipients-5% cap calculated based on final actual eligible project cost, including Federal
      and non-Federal cost shares, after insurance and any other reductions.
    • Reimbursement for actual reasonable costs not-to-exceed (NTE) the 5% calculation. Cannot
      retain excess funds.
    • Management costs are funded at 100 percent Federal cost share.
    • Includes both direct and indirect costs.
        • Direct-Managing and administering the federal award. (Development, review and processing of
          projects)
        • Indirect-Cost incurred for joint purpose benefiting more than one objective. (Recovery Scoping
          Meeting, Recovery Transition Meeting)


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                        Phase 1                                                                          Phase 5             Phase 6            Phase 7
                      Operational              Phase 2              Phase 3         Phase 4                                Post-Awards
   Pre-                Planning &              Impacts              Scoping          Final
                                                                                                        Obligations
                                                                                                                            Monitoring
                                                                                                                                                  Final
                                                                                                        & Recovery                            Reconciliation
Declaration             Applicant                  &                   &            Reviews
                                                                                                        Transition              &                   &
 Activities           Coordination             Eligibility          Costing                                                Amendments           Closeout



                                            Impact &                                                                                          Project
Preliminary       Operational Set-                             Scope of Work    Final Project       Oligate Funds to       Quarterly
                                             Damage                                                                                         Completion
  Damage         up & Coordination                             Development or     Reviews               Applicant      Progress Reports
                                          Identification                                                                                    Certification
Assessment                                                       Validation


                 Applicant Briefing      Initial Eligibility                                           Recovery             Scope         Reconcile & Close
                                                                    Cost         Applicant
Declaration                                Evaluation                                                 Transition        Amendments /          Projects
                                                               Development or    Signature
 Request                                                                                             Meeting (RTM)     Time Extensions
                                                                 Validation                                              / Appeals /
                  Request for PA
                                         Site Inspections                                                                 Audits (as
                                           for damages                                                                   applicable)      Close Applicants
Declaration         Applicant                                   Compliance
Evaluation           Eligibility                                 Reviews
                    Evaluation              Impact &
                                             Damage
                                                                                                                                          Reconcile & Close
                                         Information &
                                                                                                                                             PA Award
                  Exploratory Call,      Documentaion
Administrative
Requirements     Applicant Impact
                     Survey, &
                 Recovery Scoping
                                            Develop
                                           Detailed
                                                                 Phases of Public Assistance
                      Meeting              Damage
                                          Descriptions
                                              with
                                          Dimensions
                                             (DDD)
                                                                                                Federal Emergency Management Agency                            35
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 PA 101
 Procurement
     Procurement is the process of finding and agreeing to terms to
       acquire goods, services, or works from an external source.
                                                                    317          •Procurements by States
• Title 2 Code of Federal                                          318           •General Procurement Standards
  Regulations(CFR) Part 200 provides                               319           •Competition
  “Uniform Administrative Requirements,                            320           •Procurement Methods
  Cost Principles, and Audit                                       321           •Socioeconomic Contracting
  Requirements for Federal Awards.”                                322           •Domestic Preferences

                                                                   323           •Recovered Materials
• Sections 317 through 327 provide                                 324           •Cost and Price
  specific guidance for procurement                                325           •Awarding Agency of Pass-through Review
  compliance.                                                      326           •Bonding Requirements

                                                                   327           •Contract Provisions



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State Entities vs. Non-State Entities

▪ Different rules apply for State Entities and Non-State Entities.
State Entities are:                                             Non-State Entities are:
▪ Any State of the United States                                ▪ Local and Tribal Governments
▪ District of Columbia                                          ▪ Institutions of Higher Education
▪ US Territories (US Virgin Islands, Puerto Rico,               ▪ Hospitals
   Guam)                                                        ▪ Houses of Worship
▪ State Agencies                                                ▪ Other Non-Profit Organizations
 Must Follow:                                                      Must Follow:
 ▪ State Procurement Policies                                      ▪ Their own Procurement Policies
                                                                   ▪ State or Tribal Laws
      317        •Procurements by States
                                                                   318    •General Procurement Standards   323   •Contract Cost or Price
      322        •Recovered Materials                              319    •Competition                     324   •Review of Procurements
                                                                   320    •Procurement Methods             325
      326        •Contract Provisions
                                                                   321
                                                                                                                 •Bonding Requirements
                                                                          •Socioeconomic Contracting       326   •Contract Provisions
                                                                   322    •Recovered Materials




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PA 101
New Mexico Senate Bill 6
• Senate Bill 6 is a State program of $100 million that provides no-interest
  loans to counties, cities and municipalities to pay for infrastructure
  damages incurred during the Hermits Peak/Calf Canyon Fire.

• Loan requests to the State must have prior FEMA Public Assistance
  approval. The money will be reimbursed to the state after FEMA reimburses
  for the completed projects.

• Any questions should be directed to the State.




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PA 101
Late Damage Inventory
•   Late Damages are requested by the Applicant to the Recipient. The Recipient will request to
    FEMA the Late Damage for approval and eligibility review. If the damage is not eligible for PA,
    a process is in place to streamline the damage to Hermit’s Peak/Calf Canyon Claims Office.
•   Hermit’s Peak/Calf Canyon Fire Assistance Act- Parties who are eligible applicants for FEMA
    Public Assistance (PA) are required to first apply for FEMA PA before submitting claims to the
    Claims Office. Compensation will not be awarded by the Claims Office for losses or costs that
    are eligible under FEMA PA




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